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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                 ______________________

   V.O.S. SELECTIONS, INC., PLASTIC SERVICES
    AND PRODUCTS, LLC, DBA GENOVA PIPE,
      MICROKITS, LLC, FISHUSA INC., TERRY
            PRECISION CYCLING LLC,
                Plaintiffs-Appellees

                            v.

 DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY
     AS PRESIDENT OF THE UNITED STATES,
     EXECUTIVE OFFICE OF THE PRESIDENT,
    UNITED STATES, PETE R. FLORES, ACTING
 COMMISSIONER FOR UNITED STATES CUSTOMS
  AND BORDER PROTECTION, IN HIS OFFICIAL
  CAPACITY AS ACTING COMMISSIONER OF THE
     UNITED STATES CUSTOMS AND BORDER
     PROTECTION, JAMIESON GREER, IN HIS
 OFFICIAL CAPACITY AS UNITED STATES TRADE
   REPRESENTATIVE, OFFICE OF THE UNITED
   STATES TRADE REPRESENTATIVE, HOWARD
     LUTNICK, IN HIS OFFICIAL CAPACITY AS
  SECRETARY OF COMMERCE, UNITED STATES
      CUSTOMS AND BORDER PROTECTION,
               Defendants-Appellants
              ______________________

                       2025-1812
                 ______________________
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 2                            V.O.S. SELECTIONS, INC. v. TRUMP




     Appeal from the United States Court of International
 Trade in No. 1:25-cv-00066-GSK-TMR-JAR, Judge Gary S.
 Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
 A. Restani.
             -------------------------------------------------

 STATE OF OREGON, STATE OF ARIZONA, STATE
    OF COLORADO, STATE OF CONNECTICUT,
   STATE OF DELAWARE, STATE OF ILLINOIS,
 STATE OF MAINE, STATE OF MINNESOTA, STATE
 OF NEVADA, STATE OF NEW MEXICO, STATE OF
        NEW YORK, STATE OF VERMONT,
              Plaintiffs-Appellees

                              v.

 PRESIDENT DONALD J. TRUMP, UNITED STATES
     DEPARTMENT OF HOMELAND SECURITY,
    KRISTI NOEM, SECRETARY OF HOMELAND
    SECURITY, IN HER OFFICIAL CAPACITY AS
      SECRETARY OF THE DEPARTMENT OF
     HOMELAND SECURITY, UNITED STATES
  CUSTOMS AND BORDER PROTECTION, PETE R.
 FLORES, ACTING COMMISSIONER FOR UNITED
  STATES CUSTOMS AND BORDER PROTECTION,
      IN HIS OFFICIAL CAPACITY AS ACTING
     COMMISSIONER FOR U.S. CUSTOMS AND
     BORDER PROTECTION, UNITED STATES,
               Defendants-Appellants
               ______________________

                         2025-1813
                   ______________________

     Appeal from the United States Court of International
 Trade in No. 1:25-cv-00077-GSK-TMR-JAR, Judge Gary S.
 Katzmann, Judge Timothy M. Reif, and Senior Judge Jane
 A. Restani.
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 V.O.S. SELECTIONS, INC. v. TRUMP                           3



                   ______________________

                       ON MOTION
                   ______________________

 Before MOORE, Chief Judge, LOURIE, DYK, PROST, REYNA,
   TARANTO, CHEN, HUGHES, STOLL, CUNNINGHAM, and
                STARK, Circuit Judges.1
 PER CURIAM.
                          ORDER
     In the above-captioned cases, the United States Court
 of International Trade entered judgment against the
 United States and permanently enjoined certain Executive
 Orders imposing various tariffs. The United States moves
 to consolidate its appeals from those rulings and has ap-
 plied for this court to stay the judgment and injunction
 pending these appeals and for an immediate administra-
 tive stay while the court considers that motion. The United
 States’s request for the Court of International Trade to
 grant the same relief remains pending before that court.
     Upon consideration thereof,
     IT IS ORDERED THAT:
      (1) The motions to consolidate are granted. The ap-
 peals are consolidated, such that only one set of briefs
 should be filed for the appeals. The revised official caption
 for the consolidated appeals is reflected in this order.
      (2) The request for an immediate administrative stay
 is granted to the extent that the judgments and the perma-
 nent injunctions entered by the Court of International
 Trade in these cases are temporarily stayed until further
 notice while this court considers the motions papers.



     1   Circuit Judge Newman did not participate.
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 4                           V.O.S. SELECTIONS, INC. v. TRUMP




     (3) The parties are directed to immediately inform this
 court of any action taken by the Court of International
 Trade on the United States’s pending stay motions.
     (4) The plaintiffs-appellees are directed to respond to
 the United States’s motions for a stay no later than June 5,
 2025. The United States may file a single, consolidated re-
 ply in support no later than June 9, 2025.
                                              FOR THE COURT




 May 29, 2025
    Date
